Case 23-31186 Document1 Filed in TXSB on 04/03/23 Page 1 of 5

MEUM MUS IEcLICLi COME zt LLM em er: Lots

United States Bankruptcy Court for the:

Southern Citric of _ Texas
(State)

Case number wr knowny: Chapter __7

 

 

Official Form 201

QO) Check if this is an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space fs needed, attach a separate sheet to this form. On the top of any additional pages, write the dabtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuais, |s available.

1. Debtor's name Gon

 

2, All other names debtor used

 

in the fast 8 years

 

 

Include any assumed names,

 

trade names, and doing business
as names

 

 

3. Debtor's federal Employer 82 _ 1819031
Identification Number (EIN) —_

 

4. Debtor’s address Principal! place of business

2520 Farrell Road

 

Mailing address, if different from principal place
of business

 

 

 

 

 

 

Number Street Number Street
P.O, Box
Houston, Texas 77073
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
County

 

Number Street

 

 

City State ZIP Code

 

5. Debtor's website (URL)

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 23-31186 Document1 Filed in TXSB on 04/03/23 Page 2 of 5

Gonzales Commercial Electric, LLC

Debtor

Case number (if snown).

 

Name

 

6. Type of debtor

a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership {LLP})
Q) Partnership (excluding LLP}
LJ Cther. Specify:

 

 

7. Describe debtor's business

A. Check one:

Q) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C] Single Asset Real Estate (as defined in 11 U.S.C. § 101{51B))
CL) Raitroad (as defined in 11 U.S.C. § 101(44))

L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

L) Clearing Bank (as defined in 11 U.S.C. § 781(3))

a None of the above

B. Check aif that apply:
LJ Tax-exempt entity (as described in 26 U.S.C. § 501)

CL) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3}

Ct Investment advisor (as defined in 15 U.S.C. § 80b-2(a)11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. Sea

http://www. uscourls .qov/four-digit-national-association-naics-codes .

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

Check one:

a Chapter 7
] Chapter 9
(L) Chapter 14. Check all that apply:

CJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement cf operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

QJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or aftiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Q] Aplan is being filed with this petition.

ql Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

OQ) The debtor is required to file periodic reports (for example, 10K and 10Q} with the
Securities and Exchange Commission according to § 13 or 15(d} of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

L) Chapter t2

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Debtor

Case 23-31186 Document 1

Gonzales Commercial Electric, LLC

Filed in TXSB on 04/03/23 Page 3 of 5

Case number ¢ifknawn),

 

Name

 

9. Were prior bankruptcy cases a No
filed by or against the debtor

within the last 8 years? Cl ves. District

If more than 2 cases, attach a

When Case number
MM/ DD/YYYY

 

 

 

 

 

 

separate list. District When a DOT Case number
10. Are any bankruptcy cases C1 No 23-304406; In re: Farrell Crossing, LLC &
pending or being filed by a 23-304405; In re: Hermanos Gonzales Holdings, LLC
business partner oran a Yes. Debtor Relationship
affiliate of the debtor? District _ SOUthern District of Texas When 02/08/2023
List all cases. If more than 4, MM / DD /YYYY
attach a separate list. Case number, if known
11. Why is the case filed In this Cheek aif that apply:
district?

i Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

a A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12,

Official Form 201

Does the debtor own or have a No

possession of any real

property or personal property
that needs immediate

attention?

LJ Yes. Answer belaw for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attentlon? (Check aif fhaf apply.)

Cit poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

L} ttneeds to be physically secured or protected from the weather.

LY ttincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

LI other

 

Where is the property?

 

Number Street

 

 

City State ZIP Cada

Is the property insured?

CQ) No

CL] Yes. insurance agency

 

Contact name

Phone

 

 

a Statistical and administrative information

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 23-31186 Document1 Filed in TXSB on 04/03/23 Page 4 of 5

Debtor

Gonzales Commercial Electric, LLC

Case number (if own}

 

Name

 

13. Debtor’s estimation of
available funds

Check one:

() Funds will be available for distribution to unsecured creditors.

a After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

14, Estimated number of
creditors

a 1-49
50-99

©] 1,000-5,000
(L.) 5,001-10,000

1] 25,001-50,000
QJ 50,001-100,000

 

15. Estimated assets

L) 100-199 C) 10,001-25,000 C) More than 100,000
CL] 200-999
$0-$50,000 [J $1,000,001-$10 mitlion Q) $500,000,001-$1 billion

$50,004 -$100,000
C) $100,001-8500,000
LJ $500,001-$1 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
CJ $100,000,001-$500 million

C) $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
C) More than $50 billion

 

16. Estimated liabilities

LJ $0-$50,000

(I $50,001-8100,000
L) $100,001-$500,000
LJ $500,001-$1 million

CJ $1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million

L) $100,000,001-$500 million

CJ $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $40 billion

 

 

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17, Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

{ have bean authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

I declare under penalty of perjury that jhe foregoing is true and correct.

   

 

 

Executed on _03/31/2023
Mf yy”
Ke,
x fo Lf he Robert Gonzales
te
Signi dufe-of'authop fée-fepresentative of debtor Printed name
Titte =

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 23-31186 Document1 Filed in TXSB on 04/03/23 Page 5 of 5

Gonzales Commercial Electric, LLC

Name

Debtor Case number tf Anawn)

 

 

18. Signature of attorney x eT FD Date 03/31/2023

Signature of atterney for debtor MM /DB /¥YYY

Marcellous S. MeZeal

 

 

 

 

 

 

 

Printed name
GrealishMcZeal PC
Firm name
700 Louisiana St., 48th FI.
Number Street
Houston Tx. 77002
City State ZIP Code
713.255.3234 mmczeal@grealishmezeal.com
Contact phone Emai address
00798368 Tx.
Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
